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   6   Attorneys for the Litigation Trustee
   7
                             IN THE UNITED STATES BANKRUPTCY COURT
   8
                                       FOR THE DISTRICT OF ARIZONA
   9

  10                                                         Chapter 11

  11   In re:
                                                             Case No. 2:12-bk-14362-DPC
  12   SWIFT AIR, L.L.C.,
                                                             NOTICE OF TRUSTEE’S CLAIM FILED
  13                         Debtor.                         IN THE RECEIVERSHIP OF
                                                             SWAZLAW, PLC AND OTHER
  14                                                         RELATED MATTERS

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  16            NOTICE IS HEREBY PROVIDED by MorrisAnderson & Associates, LTD., the Litigation
  17   Trustee of the trust established under that certain Creditor Trust Agreement dated October 15, 2013
  18   (the “Trustee” and the “Trust,” respectively) of the Trust’s claim asserted in the receivership of
  19   SWAZLAW, PLC (“SWAZ”) and other related matters. SWAZ is in receivership in Case No. CV
  20   2020-001402, pending in the Superior Court of the State of Arizona, Maricopa County (the
  21   Honorable Sara J. Agne presiding).
  22            SWAZ is former counsel to the Trustee in this chapter 11 case and this Court has concurrent
  23   jurisdiction with respect to the matters addressed herein. The Trustee has requested that Judge
  24   Agne conduct a hearing on these matters, joined by the Court in this chapter 11 case. Thus, the
  25   Trustee is providing the Court and all appropriate parties with notice of the following pleadings,
  26   which were filed in Superior Court on January 20, 2023 or otherwise relate to such filings:
  27            1.     The Trust’s Claim filed in the SWAZ receivership case, attached hereto as Exhibit
  28                   A;


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   1           2.      The Amended Response of Dale and Sarah Schian to Receiver’s Motion for Order

   2                   Approving Receiver’s Final Claim Recommendations dated October 14, 2022,

   3                   objecting to the Trust’s Claim, attached hereto as Exhibit B;

   4           3.      The Trustee’s Brief in Support of Trust Priority Claim in SWAZLAW, PLC

   5                   Receivership dated January 20, 2023, attached hereto as Exhibit C;

   6           4.      The Appendix of Exhibits for Trustee’s Brief in Support of Trust Priority Claim dated

   7                   January 20, 2023, attached hereto as Exhibit D; and

   8           5.      The Motion for Hon. Judge Collins to Join Hearing on Swift Trust’s Proof of Claim

   9                   dated January 20, 2023, attached hereto as Exhibit E.

  10

  11   DATED: January 22, 2023                       BUCHALTER
                                                     A Professional Corporation
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  13
                                                     By:          s/KT (SBN 032446)
  14                                                        Robert J. Miller
                                                            Khaled Tarazi
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                                                            Scottsdale, Arizona 85254-1754
  16                                                        Attorneys for the Litigation Trustee

  17

  18
     E-FILED on January 22, 2023 with the
  19
     U.S. Bankruptcy Court and copies served
  20 via ECF notice on all parties that have
     appeared in the case.
  21
     COPY e-mailed or sent U.S. Mail
  22 the same date to:

  23 Riemer & Braunstein, LLP
     Attn: Steven E. Fox, Esq.
  24 Times Square Tower
     Seven Times Square, #2506
  25
     New York, New York 10036
  26 sfox@riemerlaw.com
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       /s/ Cristina Daniels
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